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MIDDLE DISTRICT OF FLORIDA eo mao. re
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Ilya Gnezdilov,
Plaintiff,
vs.
Hunter Warfield, Inc.,
_ Defendant.

 

COMPLAINT
For this Complaint, the Plaintiff, ya Gnezdilov, by undersigned counsel, states as
follows:
JURISDICTION

1. This action arises out of Defendant’s repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seg. (‘FDCPA”) and violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) in its illegal efforts to collect a
consumer debt.

2, Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
Defendant transacts business in this District and a substantial portion of the acts giving rise to
this action occurred in this District.

PARTIES

3. The Plaintiff, ya Gnezdilov (“Plaintiff”), is an adult individual residing in

Orlando, Florida, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3), and is a

“person” as defined by 47 U.S.C. § 15339).
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4. The Defendant, Hunter Warfield, Inc. (“Hunter”), is a Florida business entity with
an address of 96931 Arlington Road, Suite 400, Bethesda, Maryland 20814, operating as a
collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6), and
is a “person” as defined by 47 U.S.C. § 153(39).

ALLEGATIONS APPLICABLE TO ALL COUNTS
A. The Debt

5. The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original
creditor (the “Creditor’’).

6. The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes and which meets the definition of a “debt” under 15
U.S.C. § 1692a(5).

7. The Debt was purchased, assigned or transferred to Hunter for collection, or
Hunter was employed by the Creditor to collect the Debt.

8. Hunter attempted to collect the Debt and, as such, engaged in “communications”
as defined in 15 U.S.C. § 1692a(2).

B. Hunter Engaged in Harassment and Abusive Tactics

9. In September 2017, Hunter began calling Plaintiff in an attempt to collect the
Debt.

10. At all times mentioned herein, Hunter contacted Plaintiff using an automated
telephone dialer system (“ATDS” or “predictive dialer”) and/or by using an artificial or
prerecorded voice.

11. | When Plaintiff answered the calls from Hunter, he heard a prerecorded message

instructing Plaintiff to hold for the next available representative.
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12. In September 2017, Plaintiff requested that Hunter stop calling him during his

work hours.

13. Thereafter, Hunter continued calling Plaintiff during his business hours, despite

Plaintiff's request.
14. Further, Plaintiff demanded that all calls to him cease immediately.
15. Nonetheless, Hunter continued to place automated calls to Plaintiff's cellular
telephone.
C. Plaintiff Suffered Actual Damages

16. The Plaintiff has suffered and continues to suffer actual damages as a result of the
Defendant’s unlawful conduct.

17. | Asadirect consequence of the Defendant’s acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,
fear, frustration and embarrassment.

COUNT I
VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

18. The Plaintiff incorporates by reference Paragraphs 1 through 17 of this Complaint
as though fully stated herein.

19. The Defendant’s conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendant
contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

20. | The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged
in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.
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21. | The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused
a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent
to annoy and harass.

22. The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

23. The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

24. The Plaintiff is entitled to damages as a result of Defendant’s violations.

COUNT II
VIOLATIONS OF THE TCPA - 47 U.S.C. § 227, et seq.

25. The Plaintiff incorporates by reference Paragraphs 1 through 17 of this Complaint
as though fully stated herein.

26.  Atall times mentioned herein, Defendant called Plaintiff on his cellular telephone
using an ATDS or predictive dialer and/or by using a prerecorded or artificial voice.

27. Defendant continued to place automated calls to Plaintiff's cellular telephone after
being directed by Plaintiff to cease calling and knowing there was no consent to continue the
calls. As such, each call placed to Plaintiff was made in knowing and/or willful violation of the
TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

28. The telephone number called by Defendant was and is assigned to a cellular
telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. §
227(b)(1).

29. Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.
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30. The calls from Defendant to Plaintiff were not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(1)(AXi).

31. Each of the aforementioned calls made by Defendant constitutes a violation of the
TCPA.

32. Plaintiff is entitled to an award of $500.00 in statutory damages for each call
placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

33. Asaresult of each call made in knowing and/or willful violation of the TCPA,
Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against the Defendant:

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant,

2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
against the Defendant;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against the Defendant;

4. Statutory damages of $500.00 for each violation determined to be negligent
pursuant to 47 U.S.C. § 227(b)(3)(B);

5. Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C);

6. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: September 24, 2018
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Respectfully submitted,

/s/ Tamra Givens

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